                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF WISCONSIN


JOHN HUBER, in his individual capacity
and as Personal Representative of the
ESTATE OF ANTHONY HUBER,

               Plaintiff,
                                                        Case No. 21-CV-969
       v.

DAVID G. BETH, et al.,

               Defendants.


        DAVID G. BETH AND KENOSHA COUNTY’S BRIEF IN SUPPORT
                        OF MOTION TO DISMISS


       Defendants, David G. Beth and Kenosha County, by their attorneys, Crivello

Carlson, S.C., submit this brief in support of their Motion to Dismiss. Sheriff Beth and

Kenosha County (“County Defendants”) respectfully request that the Court enter an

Order pursuant to Federal Rule of Civil Procedure 12(b)(6) dismissing all of Plaintiff’s

federal civil rights claims and state law claims. Each claim should be dismissed for

failure to state a claim upon which relief may be granted and/or due to the applicability

of qualified immunity, discretionary immunity, and/or statutory immunity under Wis.

Stat. § 893.80(4). Additionally, the action should be dismissed pursuant to Federal Rule

of Civil Procedure 12(b)(7) for failure to join Kyle Rittenhouse, a necessary party.




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                                         INTRODUCTION1

        Plaintiff brings this lawsuit against the City of Kenosha and Kenosha County as a

result of the death of Anthony Huber at the hands of a private citizen, Kyle Rittenhouse,

on the evening of August 25, 2020 in the City of Kenosha, Wisconsin. (See generally, Dkt.

No. 1.) On that date, Mr. Huber was demonstrating against police violence with a

racially diverse group of protesters in downtown Kenosha. (Id., ¶ 2, 122.) The protests

began after a City of Kenosha police officer shot Jacob Blake, who is Black, on August

23, 2020. (Id., ¶ 2.) As a result of the ongoing protests, an emergency curfew was put in

place requiring crowds to disburse by 8:00 p.m. (Id., ¶ 28-29.) Law enforcement officers

from the City of Kenosha Police Department (“KPD”) and the Kenosha County Sheriff’s

Department (“KCSD”) were dispatched to monitor the demonstrations, police the

actions of the individuals present, and disperse the crowds. (Id., ¶ 24.)

        Also on August 25, 2020, a number of white, armed private citizens traveled to

downtown Kenosha in response to the demonstrations that had taken place on August

23 and 24 and that were continuing on August 25. (Id., ¶ 31, 95.) Some of these armed

individuals apparently intended to “defend” the City of Kenosha from the

demonstrators, who they called “evil thugs.” (Id., ¶ 32.) Similarly, some of these armed

individuals were members of a militia group called “the Kenosha Guard” that intended

to “patrol the streets” of downtown Kenosha. (Id., ¶ 37.) The armed individuals were


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 The facts set forth herein are accepted as true solely for purposes of this motion. See McCauley v. City of
Chicago, 671 F.3d 611, 616 (7th Cir. 2011). They are not otherwise admitted in any way by the County
Defendants.
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“avowedly pro-police.” (Id., ¶ 96.) One of the armed individuals who arrived in the City

of Kenosha on August 25, 2020 was Kyle Rittenhouse2. (Id., ¶ 40.)

       Mr. Rittenhouse openly carried a Smith & Wesson AR-15 style .223 rifle as he

walked the streets of downtown Kenosha on the night of August 25. (Id., ¶ 43-44.) As

the evening progressed, Mr. Rittenhouse used his gun on multiple occasions. (Id., ¶ 49-

50.) At 11:45 p.m., Mr. Rittenhouse shot and killed Joseph Rosenbaum in the parking lot

of an auto dealership. (Id., ¶ 50.) As Mr. Rittenhouse ran from the scene of the killing, he

stumbled and fell to the ground. (Id., ¶ 53.) At that point, several citizens, including Mr.

Huber, approached Mr. Rittenhouse and attempted to disarm him and save the lives of

others. (Id., ¶ 53-54.) As Mr. Huber reached for Mr. Rittenhouse’s weapon to pull it

away, Mr. Rittenhouse fatally shot him in the chest. (Id., ¶ 56, 58.)

       Mr. Huber’s father and Mr. Huber’s Estate now seek to hold multiple

governmental actors liable for Mr. Rittenhouse’s killing of Mr. Huber. (Dkt. No. 1, ¶ 10.)

In part, Plaintiff alleges that the law enforcement officers present on the night of August

25, 2020 intentionally allowed Mr. Rittenhouse to patrol the streets of Kenosha. Plaintiff

alleges that the named Defendants “invited [Mr. Rittenhouse] in, deputized3 him,




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  To the extent that it may be relevant, the Complaint does not specifically allege that Mr. Rittenhouse
was a member of any militia group or the Kenosha Guard.
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  Because the allegation of deputization is made so frequently in the Complaint, the County Defendants
note that the facts as pled in the Complaint do not establish that the County Defendants “deputized” any
individuals on August 23-25, 2020. A sheriff’s ability to deputize, or depute, is a statutorily created
power. Pursuant to Wis. Stat. § 59.26(2), a sheriff may appoint as many deputies as he or she considers
proper. However, such appointments must be in writing and be filed and recorded in the office of the
clerk of circuit court pursuant to Wis. Stat. § 59.26(6). Further, a sheriff may depute other persons to
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conspired with him, and ratified his actions.” (Id., ¶ 47.) Plaintiff asserts that KPD and

KCSD “did nothing to stop Rittenhouse’s illegal conduct.” (Id., ¶59.) According to

Plaintiff, Mr. Rittenhouse “and others” were “subject to a different set of rules and were

allowed to move about freely in areas controlled by Defendants.” (Id., ¶ 62.) Plaintiff

further alleges that the KPD and KCSD officers “deliberately orchestrated these

circumstances. A clear message was sent that perceived protestors were required to

disperse, while armed individuals who supported law enforcement could roam free

and assist the officers. These events directly led to Anthony Huber’s death.” (Id., ¶ 73.)

                                             ANALYSIS

I.      STANDARD OF REVIEW UNDER FEDERAL RULE OF CIVIL PROCEDURE
        12(b)(6) AND FOR QUALIFIED IMMUNITY.

        Federal Rule of Civil Procedure 12(b)(6) requires that a complaint contain

allegations that “state a claim to relief that is plausible on its face.” Ashcroft v. Iqbal, 556

U.S. 662, 678 (2009) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 533, 570 (2007)). “In

reviewing the sufficiency of a complaint under the plausibility standard announced in

Twombly and Iqbal, [the court should] accept the well-pleaded facts in the complaint as




perform particular acts, but such deputations must be in writing under Wis. Stat. § 59.26(5). While Wis.
Stat. § 59.26(8)(d) uses the term “honorary deputies,” that term refers to a title conferred only as a
compliment and carries no official duties or authority. See 37 Op.Atty.Gen. 381 (1948). Finally, the
Kenosha County Ordinances set forth specific eligibility requirements for any deputy and require the
Kenosha County Civil Service Commission to certify eligibility before a person may be deputed by the
sheriff. See Kenosha County Municipal Ordinances, § 4.01(3). Because the Complaint does not allege that
the “deputized” individuals were certified by the Civil Service Commission or deputed in writing, it fails
to sufficiently allege that the County Defendants deputized (or deputed) anyone on the dates in question.
Therefore, the Court should disregard any allegations of deputization.
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true, but legal conclusions and conclusory allegations merely reciting the elements of

the claim are not entitled to this presumption of truth.” McCauley v. City of Chicago, 671

F.3d 611, 616 (7th Cir. 2011) (citing Iqbal, 556 U.S. at 681-682). A court should essentially

parse out the conclusory allegations and “determine whether the remaining factual

allegations ‘plausibly suggest an entitlement to relief.’” Iqbal, 556 U.S. at 681.

       The question of qualified immunity may also be decided via a motion to dismiss

by examining the defendant’s conduct, “as alleged in the complaint … for objective

legal reasonableness.” Behrens v. Pelletier, 516 U.S. 299, 309 (1996) (emphasis in the

original). The protections of qualified immunity are meant to provide an affirmative

defense in response to a lawsuit as well as immunity from the burdens of litigation

itself, such as complying with the duties presented by discovery requests and trial. See

Mitchell v. Forsyth, 472 U.S. 511, 526 (1985). For this reason, the Supreme Court has

“emphasized that qualified immunity questions should be resolved at the earliest

possible stage of a litigation.” Anderson v. Creighton, 483 U.S. 635, 646 fn. 6 (1987) (citing

Harlow v. Fitzgerald, 457 U.S. 800, 818 (1982) (“Until th[e] threshold immunity question is

resolved, discovery should not be allowed.”)). The Supreme Court reasoned that “even

such pretrial matters as discovery are to be avoided if possible, as ‘[i]nquiries of this

kind can be peculiarly disruptive of effective government.’” Mitchell, 472 U.S. at 526

(quoting Harlow, 457 U.S. at 817).

       Importantly, evidence concerning a defendant’s subjective intent is “simply

irrelevant” to the analysis of qualified immunity. Crawford-El v. Britton, 523 U.S. 574, 588
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(1998); see also Harlow, 457 U.S. at 817. The Harlow rule rejects any inquiry into the state

of mind, favoring instead an inquiry into the “objective reasonableness” of the official’s

conduct in light of clearly established law. Davis v. Scherer, 468 U.S. 183, 191 (1984). For

this reason, an analysis of qualified immunity based on the facts as alleged in the

Complaint is appropriate at this early stage of the proceedings.

II.    COUNTS II, III, AND VI FAIL TO STATE A CLAIM UPON WHICH RELIEF
       MAY BE GRANTED BECAUSE ANTHONY HUBER WAS NOT A MEMBER
       OF A PROTECTED CLASS.

       A.     To State A Claim for Conspiracy Under 42 U.S.C. § 1985(3), the
              Plaintiff Must be a Member of a Protected Class.

       In Count II, Plaintiff alleges that the defendants “targeted individuals of color

and individuals allied with them” as those individuals protested against racial

discrimination. (Dkt. No. 1, ¶ 122.) Plaintiff states that Mr. Huber was one of these

persons “allied with” the protestors of color. (Id.) As evidence of the County Defendants

targeting protestors based on their race, Plaintiff asserts that law enforcement officers

“permit[ed] the all-white armed individuals” to “taunt, threaten, and monitor the

diverse group of protestors” and “permit[ed] the all-White armed individuals to patrol

the streets like deputized police officers…” (Id.) As further evidence of racially based

treatment, the Complaint states that more than 150 protestors were arrested for curfew

violations but not a single militia member was arrested for such a violation. (Id.) Based

on these alleged actions, Plaintiff claims that Defendants conspired with the armed




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individuals to deprive Mr. Huber of his constitutional rights in violation of 42 U.S.C. §

1985(3).

       To prevail on a claim under 42 U.S.C. § 1985(3), a plaintiff must allege and prove

that the conspiracy was motivated by some racial animus. See Bray v. Alexandria

Women’s Health Clinic, 506 U.S. 263, 269 (1993) (citing Griffin v. Breckenridge, 403 U.S. 88,

102 (1971)). Courts, including the Supreme Court, have hesitantly extended the

application of § 1985(3) to protected classes beyond the protected class of race. See Bray,

506 U.S. at 269. Nevertheless, to the extent that a claim could be based on some other

class-based invidiously discriminatory animus, the “class” must be “something more

than a group of individuals who share a desire to engage in conduct that the § 1985(3)

defendant disfavors.” Id.

       Thus, the animus element of a claim under § 1985(3) is not met when the actor is

only maliciously motivated. The animus must focus on the plaintiff by reason of his

membership in that class. See Hicks v. Resolution Trust Corp., 970 F.2d 378, 382 (7th Cir.

1992); see also Canlis v. San Joaquin Sheriff’s Posse Comitatus, 641 F.2d 711, 721 (9th Cir.

1981) (holding that antipolice bias does not constitute the kind of class-based

invidiously discriminatory animus envisioned and prohibited by § 1985(3)). Plaintiff

does not allege that Mr. Huber was a member of any protected class; instead, at most,

he alleges that Mr. Huber was “allied with” a “diverse group of citizens” who were

united by their viewpoint: “protesting police violence against Black people.” (Dkt. No.

1, ¶ 94.) But § 1985(3) is not concerned with viewpoint discrimination. It creates a cause
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of action based on membership in a protected class, and no court has ever held that a

person becomes a member of a protected class solely by virtue of his advocacy for or on

behalf of that protected class. Therefore, Plaintiff’s claim of conspiracy under 42 U.S.C.

§ 1985(3) fails as a matter of law.

       B.      To State an Equal Protection Claim Under 42 U.S.C. § 1983 or 42
               U.S.C. § 1985(2), Plaintiff Must be a Member of a Protected Class.

       In Count III, Plaintiff asserts that Defendants denied Mr. Huber equal protection

of the law in violation of the Fourteenth Amendment by “target[ing] individuals of

color and individuals allied with them in protest against racial discrimination,

including Huber…” (Dkt. No. 1, ¶ 130.) As an initial matter, the Equal Protection Clause

“does not entitle a person to adequate, or indeed to any, police protection.” Hilton v.

City of Wheeling, 209 F.3d 1005, 1007 (7th Cir. 2000). And Mr. Huber has not alleged that

the County Defendants “withdrew all protection” as would be required for an

allegation of unequal police protection. See id. (citing Esmail v. Macrane, 53 F.3d 176 (7th

Cir. 1995); Forseth v. Village of Sussex, 199 F.3d 363, 371 (7th Cir. 2000); and Levenstein v.

Salafsky, 164 F.3d 345, 352 (7th Cir. 1998)).

       Regardless, to state an equal protection claim under § 1983, a plaintiff must show

that the defendant “acted with a nefarious discriminatory purpose and discriminated

against her based on her membership in a definable class.” D.S. v. E. Porter County Sch.

Corp., 799 F.3d 793, 799 (7th Cir. 2015) (emphasis added). Again, Plaintiff’s only

allegation is that Mr. Huber was allied with a “diverse group” of protestors who were

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demonstrating against class-based discrimination. As a matter of law, these allegations

fail to state an equal protection claim under the Fourteenth Amendment.

       Further, Plaintiff cannot proceed with his § 1983 claim using the “class-of-one”

theory. This type of equal protection claim “is not a garden-variety equal protection

challenge; such challenges are ‘typically ... concerned with governmental classifications

that affect some groups of citizens differently from others.’” U.S. v. Moore, 543 F.3d 891,

896 (7th Cir. 2008) (quoting Engquist v. Or. Dep’t of Agric., 553 U.S. 591, 601 (2008))

(emphasis in original).

       Therefore, individuals pursuing equal protection challenges ordinarily
       allege that they have been arbitrarily classified as members of an
       identifiable group. In contrast, a class-of-one equal protection challenge
       asserts that an individual has been irrationally singled out, without regard
       for any group affiliation, for discriminatory treatment. A class-of-one
       equal protection claim is cognizable where an individual alleges that he
       has been intentionally treated differently from others similarly situated
       and that there is no rational basis for the difference in treatment.

Id. (quoting Vill. of Willowbrook v. Olech, 528 U.S. 562, 564 (2000) (per curiam)) (internal

citations and quotations omitted) (emphasis added).

       Plaintiff asserts that the County Defendants’ conduct “was motivated by racial

animus” and affected Mr. Huber and other protestors “in a grossly disproportionate

manner as compared to similarly situated White individuals.” (Dkt. No. 1, ¶ 129.) But

through these allegations, Plaintiff is not asserting that Mr. Huber was an individual

who was irrationally singled out, without regard for any group affiliation, for

discriminatory treatment. Rather, Mr. Huber was a member of a larger group that was

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allegedly treated in a discriminatory manner because of their group affiliation. His

membership in this group is fatal to a class-of-one claim, because he cannot show that

he was treated differently than others similarly situated. Indeed, he alleges that he was

treated the same as similarly situated individuals: other protestors. Because Mr. Huber

was not a member of a protected class and was not singled out for differential

treatment, he cannot proceed on an equal protection claim under 42 U.S.C. § 1983.

       Plaintiff also cites to 42 U.S.C. § 1985(2) as a basis for his equal protection claim.

That statute states in relevant part: “if two or more persons conspire for the purpose of

impeding, hindering, obstructing, or defeating, in any manner, the due course of justice

in any State or Territory, with intent to deny to any citizen the equal protection of the

laws, or to injure him or his property for lawfully enforcing, or attempting to enforce,

the right of any person, or class of persons, to the equal protection of the laws,” the

person injured may recover damages. 42 U.S.C. § 1985(2). Courts have interpreted this

portion of the statute as applying to “conspiracies to obstruct the course of justice in

state courts.” Kush v. Rutledge, 460 U.S. 719, 725 (1983). Specifically, the language is

interpreted to prohibit interference with state officers, state courts, and state elections.

Id. at 726. But Plaintiff has not alleged that any of the County Defendants’ actions had

any connection to state court proceedings or that the acts of the County Defendants

were intended to interfere with the actions of other state officers.

       Additionally, even if the Complaint could be read to assert some kind of

interference with the “due course of justice,” a plaintiff must still establish the same
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racial or class-based invidiously discriminatory animus as is required to state a claim

under 42 U.S.C. § 1985(3), and the plaintiff must be a member of a protected class. See,

e.g., Love v. Bolinger, 927 F.Supp. 1131, 1140 (S.D. Ind. 1996); Griffin, 403 U.S. at 102;

Portsman v. County of Santa Clara, 995 F.2d 898, 909 (9th Cir. 1993). Therefore, because

Plaintiff has not alleged any obstruction of justice and because Mr. Huber was not a

member of a protected class, Count III fails as a matter of law.

       C.     Plaintiff Failed to State a Claim Under 42 U.S.C. § 1986 for Failure
              to Intervene Because he Failed to State a Claim Under 42 U.S.C.
              §§ 1985(2) or (3).

       Under 42 U.S.C. § 1986 (“Action for Neglect to Prevent”), anyone “who, having

knowledge that any of the wrongs conspired to be done, and mentioned in section 1985

of this title, are about to be committed, and having power to prevent or aid in

preventing the commission of the same, neglects or refuses so to do, if such wrongful

act be committed, shall be liable to the party injured, or his legal representatives, for all

damages caused by such wrongful act, which such person by reasonable diligence

could have prevented…” 42 U.S.C. § 1986 (emphasis added). Liability under this statute

is derivative of liability under 42 U.S.C. §§ 1985(2) and (3). Grimes v. Smith, 776 F.2d

1359, 1363 (7th Cir. 1985). In other words, without an underlying violation of §§ 1985(2)

or (3), there is no violation of § 1986.

       As discussed above, both subsections of § 1985 require that the plaintiff be a

member of a protected class in order to state a claim upon which relief may be granted.

Regardless of whether Plaintiff is allowed to proceed on his equal protection claim in
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Count III under 42 U.S.C. § 1983, Count VI arising under § 1986 requires a colorable

claim under § 1985. Because Plaintiff has not and cannot allege that Mr. Huber was a

member of a protected class, his § 1985 claims fail and results in the failure of the

derivative claim in Count VI.

III.   PLAINTIFF FAILS TO STATE A CLAIM OF FIRST AMENDMENT
       RETALIATION BECAUSE HE HAS NOT PLED THE NECESSARY CHAIN
       OF CAUSATION BETWEEN THE ALLEGED RETALIATORY ANIMUS AND
       MR. HUBER’S DEATH.

       Even if the Court believes that Plaintiff adequately asserted state action taken

under the color of law by Mr. Rittenhouse for purposes of the First Amendment by

virtue of Plaintiff’s conspiracy claims, Plaintiff has failed to allege a sufficient causal

connection between the County Defendants’ retaliatory animus and Mr. Huber’s

subsequent injury at the hands of Mr. Rittenhouse. See Nieves v. Bartlett, 139 S.Ct. 1715,

1722 (2019). In Crawford–El v. Britton, the Supreme Court explained that “…proof of an

improper motive is not sufficient to establish a constitutional violation—there must also

be evidence of causation.” See 523 U.S. 574, 593 (1998).

       Certainly, a claim may exist under the First Amendment where one state actor’s

retaliatory animus causes another state actor to injure a plaintiff, as is the case in claims

of retaliatory prosecution made against a state actor other than the prosecutor. See

Hartman v. Moore, 547 U.S. 250, 259 (2006). However, no court has recognized a First

Amendment retaliation claim involving a third party (Mr. Rittenhouse) existing outside

of the confines of “successful retaliatory inducement” claims of retaliatory employment


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action, retaliatory criminal prosecution, retaliatory arrest, and retaliatory civil

prosecution. See McBeth v. Himes, 598 F.3d 708, 719-720 (10th Cir. 2010); DeMartini v.

Town of Gulf Stream, 942 F.3d 1277, 1289-1299 (11th Cir. 2019) (examining development

of such claims through Nieves v. Bartlett). Because no court has held that a First

Amendment retaliation claim may exist where a state actor induces a private citizen to

act, this Court should dismiss the claim under Rule 12(b)(6).

       Regardless, even assuming that Plaintiff’s specific type of influence-based

retaliation claim may proceed, courts have uniformly concluded that the plaintiff in

influence-based retaliation cases involving actions of a third party must allege facts that

if taken as true would establish a sufficient connection between the defendant’s

retaliatory animus and the perpetrator’s actions causing the injury.

       It is not enough to show that an official acted with a retaliatory motive
       and that the plaintiff was injured—the motive must cause the injury.
       Specifically, it must be a “but-for” cause, meaning that the adverse action
       against the plaintiff would not have been taken absent the retaliatory
       motive.

Nieves, 139 S.Ct. at 1722 (citing Hartman, 547 U.S. at 259) (emphasis in original).

       In the present case, Plaintiff does not allege that the County Defendants killed

Mr. Huber. Instead, he argues that the County Defendants’ retaliatory animus caused

someone else to kill Mr. Huber. Under these circumstances, the chain of causation is

“more complex” because the causal connection required “is not merely between the

retaliatory animus of one person and that person’s own injurious action, but between

the retaliatory animus of one person and the action of another.” Hartman, 547 U.S. at
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262. Evidence of law enforcement’s animus does not necessarily show that law

enforcement induced the actions of others. Id. at 263. In Hartman, the Supreme Court

examined this requirement in the context of retaliatory prosecution. As the Court

explained, some sort of allegation is needed to “bridge the gap” between the

defendant’s motive and the perpetrator’s action. See id. at 263. The same is true in the

present case, because Plaintiff has not alleged that the County Defendants took any

direct action against Mr. Huber at all.

       With this requirement in mind, Plaintiff has not sufficiently pled that the County

Defendants’ alleged retaliatory animus caused Mr. Rittenhouse to kill Mr. Huber.

According to the Complaint, Defendants subjected Mr. Huber and other protestors to

retaliatory treatment by 1) permitting “pro police” armed individuals to taunt, threaten

and monitor the protestors without consequence; 2) permitting the “pro police” armed

individuals to patrol the streets; 3) by offering the “pro police” armed individuals

assistance and praise while ordering protestors to disperse; and 4) corralling and

funneling protestors toward the “pro police” armed individuals to “deal with them.”

(Dkt. No. 1, ¶ 138.) Importantly, these allegations pertain to armed individuals

generally. But there is no allegation that Mr. Rittenhouse was one of the armed

individuals toward whom Defendants funneled protestors. Nor is there any allegation

that Mr. Huber was one of the protestors who was being funneled toward the armed

individuals. Even if Defendants took these actions based on a retaliatory motive, there



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is no contention that sufficiently connects those acts with Mr. Rittenhouse’s decision to

kill Mr. Huber.

       Instead, at most, the Complaint alleges that the County Defendants allowed Mr.

Rittenhouse to patrol the streets with his weapon. (Id., ¶ 47.) But allowing or even

causing Mr. Rittenhouse to patrol the streets because of some retaliatory animus is not

the same as causing Mr. Rittenhouse to kill Mr. Huber. The facts as pled in the

Complaint confirm this. Mr. Rittenhouse was fleeing the scene after shooting Joseph

Rosenbaum and fell to the ground where several citizens attempted to disarm him. (Id.,

¶ 52-53.) As Mr. Huber reached for Mr. Rittenhouse’s rifle, Mr. Rittenhouse shot him in

the chest. (Id., ¶ 56.) There is no assertion that Mr. Rittenhouse’s actions in this specific

series of events leading to the alleged injury—Mr. Huber’s death—were caused by the

County Defendants’ retaliatory animus.

       Even taking every fact as true and every inference in Plaintiff’s favor, the facts as

pled do not assert that Mr. Rittenhouse shot Mr. Huber as a result of the retaliatory

motive of the County Defendants. Because Plaintiff has not pled sufficient facts to

establish the necessary chain of causation to proceed on his First Amendment claim,

Count IV should be dismissed.

IV.    PLAINTIFF FAILED TO ALLEGE FACTS THAT COULD ESTABLISH THAT
       DEFENDANTS’ ACTIONS PROXIMATELY CAUSED MR. RITTENHOUSE
       TO KILL MR. HUBER.

       In addition to the specific causation issue applicable to Plaintiff’s First

Amendment claim of retaliation, all of Plaintiff’s claims suffer from similar deficiencies
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in pleading causation. According to the Supreme Court, “[i]t is ‘textbook tort law” that

a plaintiff seeking redress for a defendant’s legal wrong typically must prove but-for

causation.” Comcast Corp. v. Nat’l Assoc. of African American-Owned Media, 140 S.Ct. 1009,

1014 (2020) (citing Univ. of Tex. Sw. Med. Ctr. v. Nassar, 570 U.S. 338, 347 (2013)). Under

this standard,

      [A] plaintiff must demonstrate that, but for the defendant’s unlawful
      conduct, its alleged injury would not have occurred. This ancient and
      simple “but for” common law causation test, we have held, supplies the
      “default” or “background” rule against which Congress is normally
      presumed to have legislated when creating its own new causes of action.

Id. This requirement includes claims asserted under federal antidiscrimination laws. See

id.; see also Whitlock v. Brueggemann, 682 F.3d 567, 582-583 (7th Cir. 2012). Plaintiff’s

inability to meet this foundational element extends to each of the claims asserted in the

Complaint and therefore all claims should be dismissed.

      The absence of causation is perhaps best illustrated in the context of Plaintiff’s

due process claim in Count V, in which Plaintiff asserts that the County Defendants

“allowed Rittenhouse and other illegally armed individuals to patrol the streets of

downtown Kenosha with deadly weapons, inviting those individuals to use police

powers, deputizing them, conspiring with them, and ratifying their actions.” (Dkt. No.

1, ¶ 145.) Defendants allegedly informed the armed individuals that “they would funnel

demonstrators toward them to be dealt with” and thereby “increased the danger face by

Huber and other peaceful demonstrators who were present.” (Id., ¶ 146-147.) Through



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this alleged conduct, Plaintiff asserts that Defendants violated Mr. Huber’s due process

rights and caused his death. (Id.)

       As an initial matter, the Supreme Court held in DeShaney v. Winnebago County

Department of Social Services that the Due Process Clause of the Fourteenth Amendment

does not “impose an affirmative obligation on the State” to protect individuals from

harm by private actors. DeShaney v. Winnebago County Dep’t. of Soc. Serv., 489 U.S. 189,

195-196 (1989)). The purpose of Due Process Clause of the Fourteenth Amendment “was

to protect the people from the State, not to ensure that the State protected them from

each other.” Id. at 196. “Consistent with these principles, our cases have recognized that

the Due Process Clauses generally confer no affirmative right to governmental aid, even

where such aid may be necessary to secure life, liberty, or property interests of which

the government itself may not deprive the individual.” Id.

       If the Due Process Clause does not require the State to provide its citizens
       with particular protective services, it follows that the State cannot be held
       liable under the Clause for injuries that could have been averted had it
       chosen to provide them. As a general matter, then, we conclude that a
       State’s failure to protect an individual against private violence simply
       does not constitute a violation of the Due Process Clause.

Id. at 196-197.

       Despite this holding, some courts of appeals—including the Seventh Circuit—

have since inferred an exception to the rule: “the substantive component of the Due

Process Clause imposes upon the state a duty to protect individuals against dangers the

state itself creates under the state-created danger doctrine.” King ex rel. King v. E. St.

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Louis Sch. Dist. 189, 496 F.3d 812, 817 (7th Cir. 2007). The Seventh Circuit identified

“three principles that must govern our analysis” when this exception to the rule is

raised. King, 496 F.3d at 817-818. Generally stated, a duty to protect an individual arises

when 1) the state, by its affirmative acts, increases a danger faced by an individual; 2)

the failure on the part of the state to protect the individual from such danger must be

the proximate cause of the injury to the individual; and 3) the state’s failure to protect

the individual must shock the conscious. Id. at 818.

       A.     Plaintiff Does Not Allege That Defendants Caused Mr. Huber’s
              Death by Monopolizing Any Avenues or Relief or Constricting
              Mr. Huber’s Access to Self-Help.

       The Seventh Circuit has explained that the limited exception to DeShaney’s rule

of non-liability does not apply where the government “does not monopolize the

avenues of relief.” Archie v. City of Racine, 847 F.2d 1211, 1222 (7th Cir. 1988) (en banc).

For example, in Sandage v. Board of Commissioners of Vanderburgh County, 548 F.3d 595

(7th Cir. 2008), the court rejected a due process claim where the police failed to act on a

murder victim’s harassment claim against the eventual murderer. “Our plaintiffs’

decedents were not safe before the defendants failed to revoke Moore’s work release.

They were in danger—from Moore—and the defendants had done nothing to restrict

the victims’ ‘avenues of self-help.’” Sandage, 548 F.3d at 598.

       A similar conclusion was reached in Estate of Stevens v. City of Green Bay, 105 F.3d

1169 (7th Cir. 1997), where the court rejected a state-created danger claim against police

officers by the estate of a drunk bar patron who was killed after the police refused to
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allow his friends to drive him home. Instead, police dropped Stevens off at a gas station

so that he could call a cab. Heavily intoxicated, Stevens walked away and was fatally

struck by a car approximately 1.5 miles from the gas station later that evening. In

pursuing a § 1983 due process claim, the estate argued that “once the officers ‘took over

Stevens’ freedom to act,’ reasonable alternatives existed—transport Stevens to a

hospital, a detox center, his residence, the city jail, or even hand him over to the tribal

police—other than dropping him off at a gas station.” Stevens, 105 F.3d at 1177. Thus,

they argued that the police were liable under the state-created danger exception to

DeShaney.

       The Seventh Circuit disagreed and explained that even when the facts were

considered in the light most favorable to the estate, DeShaney did not permit recovery

due to the lack of any “special relationship” between police and Stevens and due to the

lack of a sufficient causal connection.

       “But-for” causation cannot be laid on the shoulders of the police officers in
       this manner. Various other factors contributed to this tragedy, primarily
       Stevens’ intoxication. … To recover under this theory, the estate must
       demonstrate that the state greatly increased the danger to Stevens while
       constricting access to self-help; it must cut off all avenues of aid without
       providing a reasonable alternative. Only then may a constitutional injury
       have occurred. … Assuming the estate is correct that Officers Laux and
       Buckley prevented Stevens’ friends from driving him home, the question
       is whether having precluded one reasonable alternative, the officers gave
       Stevens another.... Officers Laux and Buckley listed for Stevens his choices
       for leaving, each reasonable, and allowed him to choose. He voluntarily
       accepted one alternative.




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105 F.3d at 1177–78 (internal citations omitted) (emphasis added); see also Brown v. Reyes,

815 F.Supp.2d 1018, 1024 (N.D. Ill. 2011) (explaining that allegations that law

enforcement created “amorphous zone of danger” were insufficient to allow inference

of proximate cause of third-party assailant’s attack on victim).

       In the present case, under even the most liberal reading of the Complaint,

Plaintiff cannot establish “but-for” causation between the alleged actions of the County

Defendants and Mr. Huber’s death. Plaintiff asserts that protests began in downtown

Kenosha on August 23, 2020 and a curfew was put into place that same day requiring

protestors to disperse by 10:15 p.m. (Dkt. No. 1, ¶ 26.) By August 25, 2020, the night that

Mr. Huber was killed, that curfew had been moved up to 8:00 p.m. (Id., ¶ 28.) Plaintiff

specifically asserts that the curfew “was aimed at protestors,” of which Mr. Huber was

one. (Id., ¶ 2, 28.) This curfew was not a secret; rather, Plaintiff confirms that protestors

were ordered by law enforcement over loudspeakers: “This is the last warning. You will

disperse. This area is closed you are trespassing, leave now.” (Id., ¶ 71.) The orders were

apparently made at approximately 11:30 p.m., about fifteen minutes before Mr.

Rittenhouse killed Mr. Huber. (Id., ¶ 66-68, 71.)

       Based on these facts as pled, Mr. Huber’s presence on the streets of Kenosha and

his specific interaction with Mr. Rittenhouse were apparently voluntary, and there are

no allegations that any law enforcement officer was involved in any way. Rather than

complying with the curfew and orders to disperse, Mr. Huber remained on the scene of

the protests. At the same time, Mr. Rittenhouse “was brandishing his gun openly and
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conspicuously, strapping it over his shoulder using a tactical sling designed to position

the rifle at the center of his chest for rapid elevation and positioning. The rifle was

visible at all times across his body or in his hands.” (Dkt. No. 1, ¶ 44.) At about 11:45

p.m., Mr. Rittenhouse used his gun to shoot Joseph Rosenbaum. (Id., ¶ 50.) Mr.

Rittenhouse then ran from the scene with his rifle in his hands, “holding it in a ready

position.” (Id., ¶ 52.) People yelled that Mr. Rittenhouse had just shot someone, and in

response “several citizens approached him in an attempt to disarm him.” (Id., ¶ 52-53.)

Mr. Huber was one of those citizens. He decided to approach and reach for Mr.

Rittenhouse’s rifle to disarm him but was fatally shot. (Id., ¶ 54-56.)

       Just as in the Stevens case, causation “cannot be laid on the shoulders of the

police officers in this manner.” Stevens, 105 F.3d at 1177. Several other intervening

factors contributed to this tragedy. See id. Regardless of whether law enforcement

treated the diverse group of protestors differently by enforcing the curfew against them

and not the armed individuals; regardless of whether law enforcement “allowed”

armed individuals to roam the streets freely, posing a threat to protestors; and

regardless of whether law enforcement actions were impermissibly motivated by race,

protected class status, or viewpoint; Mr. Huber could have chosen not to disarm Mr.

Rittenhouse. Mr. Huber could have left and was in fact told to do so.

       There is no allegation that Defendants monopolized any avenues of relief or

constricted Mr. Huber’s access to self-help. There is not even an allegation that the

County Defendants’ actions caused Mr. Huber to stay on the scene or caused him to
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attempt to disarm Mr. Rittenhouse. Rather, Defendants provided (and in fact ordered) a

reasonable alternative by establishing and enforcing a curfew. The Complaint does not

allege that law enforcement officers did anything to prevent Mr. Huber from leaving

the scene or otherwise complying with orders to disperse. But Mr. Huber chose to

remain on scene despite the 8:00 p.m. curfew, and Mr. Huber chose to try to disarm Mr.

Rittenhouse despite knowing he had just shot another person and was armed.

Therefore, Plaintiff cannot establish proximate causation between the alleged actions of

the County Defendants and Mr. Huber’s death, and he fails to state a claim upon which

relief may be granted.

       B.      Plaintiff Does Not Allege Facts Establishing That Defendants
               Created or Increased Any Danger That Caused Mr. Huber Injury.

       Even without examining the issue of whether the County Defendants

monopolized avenues of relief, Plaintiff’s claims would still fail at the pleading stage.

Here, the Court must examine the specific allegations about the County Defendants’

actions as they pertain to any threat to Mr. Huber. See Buchanan-Moore v. County of

Milwaukee, 570 F.3d 824, 828 (7th Cir. 2009) (holding that dangers to the public at large

are insufficient for constitutional purposes); see also Martinez v. California, 444 U.S. 277,

285 (1980) (declining to hold state actors liable because the plaintiff’s injury was “too

remote a consequence” when the danger was to the public at large as opposed to the

plaintiff in particular).




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      The Court must disregard the generalized allegations that provide context but

that do not specifically relate to Mr. Huber. For example, Plaintiff makes general

statements about disparate enforcement of the curfew. But the Complaint does not

allege that Mr. Huber was cited for violating the curfew or that the disparate

enforcement was specifically connected with or caused Mr. Huber and Mr.

Rittenhouse’s encounter. The Complaint includes general allegations about law

enforcement “funneling” protestors into an area where they were met with violence,

but the Complaint does not allege that Mr. Huber was one of these funneled protestors.

Nor does the Complaint assert that Mr. Rittenhouse was one of the armed individuals

awaiting the funneled protestors. Ultimately, Plaintiff does not claim that the alleged act

of funneling demonstrators toward armed individuals caused Mr. Huber and Mr.

Rittenhouse to meet—or more specifically, that it caused Mr. Rittenhouse to kill Mr.

Huber—when that result would not have otherwise occurred.

      At its core, Plaintiff’s entire argument is that law enforcement should have

disarmed and/or arrested Mr. Rittenhouse earlier in the night and that had they done

so, Mr. Huber would be alive. (See Dkt. No. 1, ¶ 59.) But a failure to arrest someone does

not give rise to a cause of action under 42 U.S.C. § 1983. See Losinski v. County of

Trempealeau, 946 F.2d 544, 551 (7th Cir. 1991) (citing DeShaney, 489 U.S. at 201-202).

When the generalized contextual allegations are stripped away and the pleadings are

examined carefully, it becomes clear that the County Defendants’ failure to arrest Mr.

Rittenhouse did not increase the danger to Mr. Huber. Rather, the County Defendants’
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failure to arrest Mr. Rittenhouse resulted in a failure to reduce or eliminate the danger

already faced by Mr. Huber by virtue of his presence in downtown Kenosha on August

25, 2020. As a matter of law, a failure to reduce or eliminate an existing danger fails to

state a claim upon which relief may be granted. See DeShaney, 489 U.S. at 195-197.

       C.     Because a Claim of Conspiracy Under 42 U.S.C. § 1983 is
              Derivative, Plaintiff has Failed to State a Claim Upon Which
              Relief May be Granted.

       The foregoing causation analysis is specific to the state-created danger claim

asserted in County V, but it is the County Defendants’ position that Plaintiff’s inability

to establish proximate cause based on the facts as alleged is fatal to all of his claims. The

County Defendants have also shown independent bases for dismissals of Counts II, III,

IV, and VI in addition to the lack of causation. This leaves Count I, in which Plaintiff

alleges conspiracy under 42 U.S.C. § 1983. However, conspiracy is not an independent

basis of liability in § 1983 actions. See Smith v. Gomez, 550 F.3d 613, 617 (7th Cir. 2008).

Rather, in order to proceed on a claim of conspiracy, Plaintiff must establish an

underlying constitutional injury. Kelley v. Myler, 149 F.3d 641, 648 (7th Cir. 1998).

       Regardless of whether Plaintiff has adequately pled an express or implied

agreement amongst Defendants to deprive Mr. Huber of his constitutional rights,

Plaintiff has failed to allege any underlying constitutional violation upon which relief

could be granted. Therefore, Plaintiff’s claim of conspiracy under § 1983 necessarily fails

and Count I should also be dismissed.



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V.     PLAINTIFF’S MONELL CLAIMS FAIL FOR LACK OF AN ACTIONABLE
       UNDERLYING CLAIM OF CONSTITUTIONAL VIOLATION.

       In Count VII, Plaintiff alleges a Monell claim against Kenosha County deriving

from the first five of his federal civil rights claims. (Dkt. No. 1, ¶ 159-160.) For the

reasons set forth above, each of Plaintiff’s federal civil rights claims fails. A municipality

cannot be liable under Monell when there is no underlying constitutional violation by a

municipal employee. See Gaetjens v. City of Loves Park, 4 F.4th 487, 495-496 (7th Cir.

2021). Therefore, Plaintiff’s claims against Kenosha County arising under Monell v.

Department of Social Services, 436 U.S. 658 (1978) also fail and must be dismissed.

VI.    THE COUNTY DEFENDANTS ARE ENTITLED TO QUALIFIED IMMUNITY
       FOR PLAINTIFF’S CLAIM OF DUE PROCESS VIOLATION BASED ON AN
       ALLEGED STATE-CREATED DANGER.

       Should the Court determine that Plaintiff adequately pled Count V alleging a

violation of the Due Process Clause as a result of a state-created danger, the County

Defendants are nevertheless entitled to qualified immunity. Under the qualified

immunity doctrine, “government officials performing discretionary functions are

immune from suit if their conduct ‘could reasonably have been thought consistent with

the rights they are alleged to have violated.’” Borello v. Allison, 446 F.3d 742, 746

(quoting Anderson, 483 U.S. at 638-39). An official is entitled to immunity if, when he

acted, “he reasonably could have believed that his action did not violate a clearly

established law.” Cham v. Wodnick, 123 F.3d 1005, 1008 (7th Cir. 1997). “Although the




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privilege of qualified immunity is a defense, the plaintiff carries the burden of defeating

it.” Mannola v. Farrow, 476 F.3d 453, 357 (7th Cir. 2007).

       In determining whether the County Defendants are entitled to qualified

immunity, the trial court conducts a two-step inquiry. First, this Court must determine

whether the disputed conduct violated a constitutional right. Borello, 446 F.3d at 746.

Second, this Court must determine whether the right was “clearly established” at the

time of the alleged conduct. Id. (quoting Saucier v. Katz, 533 U.S. 194, 201 (2001).

Whether the law was “clearly established” turns on the “objective legal reasonableness

of the action” given the contemporaneous legal rules. Wilson v. Layne, 526 U.S. 603, 614

(1999). The Supreme Court instructs that the “clearly established” inquiry “must be

undertaken in light of the specific context of the case, not as a broad general

proposition.” Harlow, 457 U.S. at 815. The inquiry is narrow and assesses whether the

right was “sufficiently clear that a reasonable official would understand that what he is

doing violates the right.” Saucier, 533 U.S. at 201; Colaizzi v. Walker, 812 F.2d 304, 308

(7th Cir. 1987) (“[T]he test for immunity [is] whether the law was clear in relation to the

specific facts confronting the public official when he acted.”). Thus, a defendant

government official is entitled to qualified immunity for unconstitutional conduct so

long as there could be a reasonable, albeit mistaken, belief about the legality of his or

her conduct. Saucier, 533 U.S. at 205-06 (2001); Malley v. Briggs, 475 U.S. 335, 341 (1986)

(“[I]f [officials] of reasonable competence could disagree on this issue, immunity should

be recognized.”).
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      Recent decisions released by the Seventh Circuit in 2019 establish that the law

pertaining to claims arising from a state-created danger was not clearly established as of

August 25, 2020 and the County Defendants are entitled to qualified immunity.

Although many courts have applied this exception to DeShaney for years, courts have

recently begun to reexamine whether such an exception actually exists.

      On September 18, 2019, the Seventh Circuit released Weiland v. Loomis, 938 F.3d

917 (7th Cir. 2019) in which it cast serious doubt on the reach and even the existence of

the state-created danger exception to DeShaney that it had previously embraced. In

Weiland, hospital patients sued a county and corrections officers alleging substantive

due process violations arising out of injuries suffered during a county inmate’s hostage

standoff at the hospital. One of the defendant correctional officers filed a motion to

dismiss based on qualified immunity. He relied on DeShaney—holding that the

government has no constitutional duty to protect the public from private predators—

and pointed out that it was the inmate who had inflicted the plaintiff’s injuries. The

district court disagreed and focused on the state-created danger exception to DeShaney.

It determined that the correctional officer was liable for increasing the risk to other

hospital patients through his various actions (e.g. removing the inmate’s shackles,

running away from the situation). The district court said that the state-created danger

exception was “clearly established,” so qualified immunity was denied.

      Upon appeal, the Seventh Circuit disagreed.



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       The problem with this reasoning is that it starts and ends at a high level of
       generality. The “state-created danger exception” to DeShaney does not tell
       any public employee what to do, or avoid, in any situation. It is a
       principle, not a rule. And it is a principle of liability, not a doctrine (either
       a standard or a rule) concerning primary conduct. For that one must look
       elsewhere, but the district judge did not do so.

Weiland, 938 F.3d at 919 (emphasis added). The Court of Appeals pointed out that the

district court had wrongly understood the state-created danger exception “as equivalent

to a constitutional rule prohibiting any act, by any public official, that increases private

danger.” Id. The court continued, “If that were so, however, DeShaney itself is wrongly

decided.” Id. It then pointed out all the ways that the defendants’ primary conduct in

the DeShaney case indisputably increased the danger faced by the plaintiff, Joshua

DeShaney.

       … [B]ut the Supreme Court nonetheless held that the Due Process Clause
       of the Fourteenth Amendment does not require a state to protect its
       residents from private violence. Other courts cannot create an “exception”
       to DeShaney that contradicts this principle, and as a result we cannot treat
       the “state-created danger exception” as a rule of primary conduct
       forbidding any acts by public officials that increase private dangers.

Id. at 919 (emphasis added).

       Additionally, the Weiland Court was critical of a decision recognizing the state-

create danger exception issued by the Seventh Circuit just one month earlier: Johnson v.

Rimmer, 936 F.3d 695 (7th Cir. 2019). The Weiland Court disapprovingly noted that

Johnson had “elaborated and turned [the exception] into a three-part test.” Id. at 920. It

pointed out that none of those three elements “has its provenance in DeShaney.” Id.

Instead, the justices who decided DeShaney “hinted that the Constitution might support
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liability when a state has a duty that ‘arises not from the State’s knowledge of the

individual’s predicament or from its expressions of intent to help him, but from the

limitation which it has imposed on his freedom to act on his own behalf.’” Id. at 921

(quoting DeShaney, 489 U.S. at 200) (underline emphasis in original, bolded emphasis

added).

      Under the Weiland Court’s interpretation, the exception (if it exists) would only

be triggered when the state actor has taken some act that “disable[s] or undermine[s]

self-help or sources of private assistance.” Id. But even this conclusion on the more

limited question of self-help only further obfuscated the analysis. In 1997, the Stevens

Court held that in order to trigger the state-created danger principle, the plaintiff must

allege that the defendant increased the danger and must also plead a “special

relationship” with the defendant. Stevens, 105 F.3d at 1176-1177. This “special

relationship” could be custodial or could be established by alleging that the defendant

cut off other avenues of aid. Id. at 1177. However, the Seventh Circuit subsequently

retreated from that aspect of the “special relationship” analysis the following year. See

Monfils v. Taylor, 165 F.3d 511, 517 (7th Cir. 1998) (holding that “a state can be held to

have violated due process by placing a person in a position of heightened danger

without cutting off other avenues of aid.”). Yet the Weiland Court focused on avenues of

self-help and approvingly cited multiple cases, one of which post-dated Monfils, that

found liability where the state had disabled or undermined self-help or sources of



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private assistance outside of the custodial context. See Weiland, 938 F.3d at 921 (citing

Paine v. Cason, 678 F.3d 500, 510–11 (7th Cir. 2012)).

       The Weiland Court concluded by noting the different “approaches” employed by

other circuits and recognized that substantial questions were being raised as to whether

the state-created danger exception as interpreted “can be reconciled with DeShaney…”

Id. at 921 (citing Estate of Romain v. Grosse Pointe Farms, 935 F.3d 485 (6th Cir. 2019)).

Ultimately, the Seventh Circuit confirmed the unsettled nature of the case law but left

the issue undecided:

       Every once in a while, a court should step back and ask whether local
       jurisprudence matches the instructions from higher authority. … Estate of
       Romain did not need to decide whether the Sixth Circuit’s approach
       should be revised, just as we do not need to decide whether Johnson and
       King are compatible with Paine, Reed, and DeShaney. These subjects should
       be presented for consideration in some future case, when the outcome
       may turn on the difference.

Id. But that was not the end of the debate.

       As further evidence of the lack of clarity pertaining to the state-created danger

principle, the Seventh Circuit released a decision just one week later in Estate of Her v.

Hoeppner, 939 F.3d 872 (7th Cir. 2019) that did not cite to, let alone discuss, Johnson v.

Rimmer or Weiland v. Loomis at all. The Her decision applied the same three-part test set

forth in King ex rel. King v. East St. Louis School District 189 that the Weiland Court had

just criticized, even though it never formally identified it as such. It also referred to the

“special relationship” concept as being tied to the state’s custody of a person, despite its

rejection of that narrower definition one week earlier in Weiland. See id. at 876.
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Regardless, the Her Court did not provide any further clarification regarding whether

or how a state-created danger exception can be reconciled with DeShaney.

       Such was the state of the law as of August 25, 2020 when Mr. Huber traveled to

downtown Kenosha to join the protests. At best, jurisprudence interpreting the concept

of the state-created danger exception, writ large, was unsettled. And more importantly,

when examining the “clearly established” inquiry “in light of the specific context of the

case, not as a broad general proposition” as is required for qualified immunity, any

right was not sufficiently clear such that a reasonable official in the County Defendants’

position “would understand that what he is doing violates the right.” See Saucier, 533

U.S. at 201; Weiland, 938 F.3d at 919-920. Did a three-part inquiry govern the contours of

the exception, or was it antithetical to DeShaney? And if a three-part test was still

considered appropriate, did it require consideration of whether the state had a “special

relationship” with the claimant? If so, must that relationship be tied to custodial duties

arising in contexts such as incarceration? Or does a colorable claim require that the state

cut off alternative avenues of aid?

       As for the specific context of the case, the Complaint provides some limited

details about the unfolding unrest during which Mr. Huber was killed. But even when

viewed in the light most favorable to Plaintiff, there exists no “controlling case or robust

collection of persuasive authority that extends the state-created danger exception to

cases where an alleged harm was inflicted by a government employee acting in the



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course of his office or analogous to the set of facts presented here…” Doxtator v. O’Brien,

---F.Supp.3d --- 2021 WL 2004676, * 15 (E.D. Wis. 2021).

       According to the Complaint, protests began on August 23, 2020, which Plaintiff

characterizes as “public outrage” over law enforcement violence toward Black people.

(Dkt. No. 1, ¶ 23.) The demonstrators’ numbers swelled, and Plaintiff alleges that there

were “hundreds of protestors” present. (Id.) On August 23, 2020, the protests had

already intensified to the point that an emergency curfew was put in place of 10:15 p.m.

(Id., ¶ 26.) The tenor of the situation further deteriorated by August 24, 2020 when the

emergency curfew was moved to 8:00 p.m. (Id., ¶ 28.) Despite the curfew, crowds

continued to gather. (Id., ¶ 27.) Law enforcement officers made arrests, used tear gas,

and fired rubber bullets in an attempt to control the situation or clear the area. (Id., ¶

27.) Nevertheless, by August 25, 2020, “armed individuals descended on Kenosha…

brandishing weapons, threatening residents, and pointing weapons at peaceful

demonstrators without provocation.” (Id., ¶ 31.) There were reports of slashed tires and

property damage. (Id., ¶ 4, 65.)

       The Complaint alleges that upwards of 3,000 armed people came to Kenosha and

spread out across multiple locations on the date in question. (Id., ¶ 36.) Plaintiff

describes law enforcement officers, who were now using armored vehicles, attempting

to disperse crowds after the 8:00 p.m. curfew by announcing via loudspeakers, “This is

the last warning. You will disperse. This area is closed you are trespassing, leave now.”

(Id., ¶ 71.) But crowds of both demonstrators, including Mr. Huber, and “heavily
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armed” vigilantes remained. (Id., ¶ 61, 76.) At least some of the people who remained

on the streets despite the curfew were apparently members of right-wing militia groups

and neo-Nazis, espousing hateful rhetoric and white supremacy. (Id., ¶ 99-100.)

Unarmed individuals attempted to disarm armed individuals. (Id., ¶ 53-54.) According

to a quote attributed to Mr. Rittenhouse’s attorney, the scene was so chaotic that “basic

law and order” no longer existed. (Id., ¶ 84.)

       None of the cases examining the concept of the state created danger exception

provide guidance on whether or how it would apply to the situation facing law

enforcement on the evening of August 25, 2020. Mr. Huber’s due process rights in the

context of a state-created danger were not sufficiently clear to the County Defendants in

this context. As such, there could be a reasonable, albeit mistaken, belief about the

legality of the County Defendants’ conduct in determining whether to arrest certain

people, whether to disarm any armed individuals, and in decisions related to

controlling and maneuvering crowds. (See Dkt. No. 1, ¶ 145-146.) Therefore, the County

Defendants are entitled to qualified immunity for Count V. See Malley, 475 U.S. at 341.

VII.   PLAINTIFF’S STATE LAW CLAIMS FAIL TO STATE A CLAIM UPON
       WHICH RELIEF MAY BE GRANTED.

       A.     Public Policy Precludes Recovery on All State Law Claims

       In addition to the various defenses set forth below, each of Plaintiff’s state law

claims should be dismissed based on public policy considerations. Under Wisconsin

law, courts may invoke one or more of six recognized public policy factors to preclude


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tort liability despite the existence of cause-in-fact, because the cause of the plaintiff’s

injuries is not legally sufficient to allow recovery. See Fandrey ex rel. Connell v. Am. Fam.

Mut. Ins. Co., 2004 WI 62, ¶ 9-10, 272 Wis. 2d 46; Burton v. E.I. du Pont de Nemours & Co.,

Inc., 994 F.3d 791, 829 (7th Cir. 2021). Liability may be precluded even if all the elements

for a claim of negligence are proved, or liability for negligent conduct is assumed by the

court. Hoida, Inc. v. M&I Midstate Bank, 2006 WI 69, ¶ 24, 291 Wis.2d 283. These public

policy factors may preclude liability even where a statute authorizes it, and the

application of public policy to preclude liability is not limited to negligence claims. See

Fandrey, 2004 WI 62 at ¶ 8 and ¶ 17-18.

       The public policy factors to be considered are whether 1) the injury is too remote

from the negligence; 2) recovery is too wholly out of proportion to the culpability of the

negligent tort-feasor; 3) in retrospect it appears too highly extraordinary that the

negligence should have brought about the harm; 4) allowing recovery would place too

unreasonable a burden upon the tortfeasor; 5) allowing recovery would be too likely to

open the way to fraudulent claims; or 6) allowing recovery would enter a field that has

no sensible or just stopping point. Hoida, 2006 WI 69 at ¶ 41. Whether one or more

factors bars recovery is a question of law solely for judicial determination. Fandrey, 2004

WI 62, ¶ 12.

       In the present case, each of the policy factors supports dismissal of Plaintiff’s

state law claims against the County Defendants. Examining the specific allegations

about the County Defendants as they pertain to Mr. Huber, the County Defendants did
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not take any particularized actions to, against, or with respect to him at all. Instead,

Plaintiff focuses on generalized allegations about the milieu created by what law

enforcement did not do: they did not dissuade or prevent thousands of armed

individuals from descending upon Kenosha, they did not arrest Mr. Rittenhouse earlier

in the evening, they did not offer assistance or appreciation to protestors, and they did

not immediately arrest Mr. Rittenhouse after he shot Mr. Huber.

       On their face, these allegations fail to provide sufficient detail to put any given

defendant on notice of what he or she did or failed to do that allegedly gives rise to his

or her liability. See Fed. R. Civ. P. 8(a)(2); see also Thomson v. Washington, 362 F.3d 969,

970-71 (7th Cir. 2004) (a complaint must put the defendant on notice of the claims and

the grounds they rest upon, along with “some indication . . . of time and place.”). There

is no indication in Plaintiff’s allegations of “who did what to him, when and where they

did it and, if he knows, why the did it.” See Juarez v. Kenosha Sheriff’s Dep’t., 2020 WL

5982881, *6 (E.D. Wis. Oct. 8, 2020).

       But even if the Court determines that the allegations are sufficiently specific,

their generalized nature and lack of a discernable connection to Mr. Huber demonstrate

that public policy should preclude the imposition of liability. Law enforcement’s failure

to arrest a single armed individual amongst more than 3,000 armed individuals and

hundreds of protestors in a chaotic and unfolding situation, even if negligent, is too

remote from Mr. Huber’s death as he attempted to disarm Mr. Rittenhouse. Allowing

recovery for the failure to arrest that one armed individual or to clear the streets prior to
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Mr. Huber’s death, even if negligent, is wholly out of proportion to the culpability of

whichever officer(s) had the opportunity but did not take it.

       Certainly, allowing recovery against law enforcement for Mr. Rittenhouse’s

killing of Mr. Huber would place too unreasonable a burden upon law enforcement,

especially in the context of a fluid, unpredictable, and deteriorating situation involving

thousands of people spread across the downtown area of a large city. It would penalize

law enforcement for the situation to which they were responding, rather than their

specific actions or interactions with Mr. Huber. And allowing recovery under these

circumstances would require officers to identify and eliminate every potential threat or

even prevent such threats from materializing in the first place in order to avoid liability,

even where—as here—the injured person fails to exercise ordinary care for his own

safety. See Jankee v. Clark County, 2000 WI 64, ¶ 53, 235 Wis.2d 700 (every person has a

duty to exercise ordinary care for his own safety). In turn, allowing recovery would

enter a field that has no sensible or just stopping point with hindsight as its overzealous

guide. Any person injured by a private citizen could hold law enforcement liable for not

doing something differently at some earlier juncture. And based on the allegations in

this case, law enforcement could even be held liable for not arresting Mr. Huber for a

curfew violation or otherwise removing him from the situation at some point prior to

his injury.

       Here, law enforcement attempted to enforce the curfew and ordered protestors

to leave. Mr. Huber did not leave or otherwise exercise ordinary care for his own safety.
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Instead, he remained on the scene of what Plaintiff describes as a chaotic and violent

situation. When Mr. Huber heard that Mr. Rittenhouse had just shot someone and saw

that Mr. Rittenhouse was still armed, Mr. Huber chose to approach and try to disarm

him. Under these circumstances, allowing Plaintiff to recover under Wisconsin law

against the County Defendants for Mr. Rittenhouse’s subsequent killing of Mr. Huber

would be directly contrary to well-established public policy. Therefore, all of Plaintiff’s

state law claims should be dismissed.

       B.     Plaintiff Failed to Allege an Actionable Claim of Intentional
              Infliction of Emotional Distress.

       In Count VIII, Plaintiff alleges that Defendants engaged in extreme and

outrageous conduct. (Dkt. No. 1, ¶ 168.) However, Plaintiff alleges only that this

conduct caused “severe emotional distress to another.” (Id., ¶ 172 (emphasis added).)

While this may seem like a minor detail, Plaintiff has failed to allege that Mr. Huber

suffered severe emotional distress as would be required for his estate to recover for

intentional infliction of emotional distress. Therefore, Plaintiff has failed to state a claim

upon which relief may be granted.

       C.     The County Defendants are Entitled to Discretionary Immunity
              Under Wis. Stat. § 893.80(4) for Plaintiff’s Claims of Negligence;
              Negligent Infliction of Emotional Distress; and Negligent Hiring,
              Supervision, and Training.

       Under Wisconsin law, both public officers or employees and the governmental

entities that employ them “enjoy immunity from liability for injuries resulting from the

performance of any discretionary act within the scope of their governmental
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employment.” Wilson v. City of Milwaukee, 138 F.Supp.2d 1126, 1130 (E.D. Wis. 2001)

(quoting Kierstyn v. Racine Unified Sch. Dist., 228 Wis.2d 81, 88, 596 N.W.2d 417 (1999)).

The discretionary immunity analysis assumes negligence and “focus[es] instead on

whether the municipal action (or inaction) upon which liability is premised is entitled to

immunity under the statute, and if so, whether one of the judicially-created exceptions

to immunity applies.” Lodl v. Progressive N. Ins. Co., 2002 WI 71, ¶ 17, 253 Wis. 2d 323.

       A discretionary act involves the “exercise of judgment in the application of a rule

to specific facts.” Willow Creek Ranch, LLC v. Town of Shelby, 2000 WI 56, ¶ 25, 235 Wis.2d

409. Immunity does not attach to ministerial duties, which are “absolute, certain and

imperative, involving merely the performance of a specific task when the law imposes,

prescribes and defines the time, mode and occasion for its performance with such

certainty that nothing remains for judgment or discretion.” Lister v. Board of Regents, 72

Wis.2d 282, 301, 240 N.W.2d 610 (1976).

       For purposes of this immunity, the manner in which law enforcement officials

carry out their responsibilities is discretionary. See Estate of Perry v. Wenzel, 185

F.Supp.3d 1087, 1099-1100 (E.D. Wis. 2017) (rev’d on other grounds, 872 F.3d 439 (7th Cir.

2017). “[T]he nature of law enforcement involves the use of discretion in response to

evolving circumstances. ‘For these reasons, it is clear that law enforcement officials

must retain the discretion to determine, at all times, how best to carry out their

responsibilities.’” Id. (quoting Barillari v. City of Milwaukee, 194 Wis.2d 247, 260, 533

N.W.2d 759 (1995)). Similarly, decisions by law enforcement officers concerning
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whether and how to arrest someone are purely discretionary. Wilson, 138 F.Supp.2d at

1130 (“Clearly, such decisions call for the exercise of judgment or discretion rather than

the mere performance of a prescribed task.”); see also Johnson v. City of Milwaukee, 41

F.Supp.2d 917, 931 (E.D.Wis.1999) and Phillips v. City of Milwaukee, 928 F.Supp. 817, 829

(E.D.Wis. 1996), aff’d, 123 F.3d 586 (7th Cir. 1997). There is an exception to discretionary

immunity for conduct that is malicious, willful, and intentional. Willow Creek Ranch,

2000 WI 56 at ¶ 26. However, where—as here—the plaintiff’s stated cause of action

sounds in negligence, the exception does not apply. Wilson, 138 F.Supp.2d at 1133.

       The only other exceptions to discretionary immunity are for medical discretion,

which is inapplicable to the present case, and for duties to address a “known danger.”

Willow Creek Ranch, 2000 WI 56 at ¶ 26. The “known danger” exception states that a

public officer may face liability when he or she is aware of a danger that is of such

quality that it “require[es] a particularized action with a self-evident time, mode and

occasion.” Heuser ex rel. Jacobs v. Cmty. Ins. Corp., 2009 WI App 151, ¶ 23, 321 Wis.2d 729.

However, when the allegations of the Complaint are read in the light most favorable to

Plaintiff, this exception is not triggered. Even if a duty to act was created by the

situation generally, it did not require a particularized action. The manner in which law

enforcement responded remained inherently discretionary.

       For the known danger exception to apply, “the danger must be compelling

enough that a self-evident, particularized, and nondiscretionary municipal action is

required.” C.L. v. Olson, 143 Wis. 2d 701, 717, 422 N.W.2d 614 (1988). A mere duty to act
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does not equate to a duty to take a particularized, nondiscretionary action. In the

present case, assuming arguendo that law enforcement had a duty to act, the County

Defendants nevertheless retained their inherent discretion to determine how best to

carry out their responsibilities in responding to it. As the Wisconsin Supreme Court

explained, “…the nature of law enforcement requires moment-to-moment decision

making and crisis management which, in turn, requires that the police department have

the latitude to decide how to best utilize law enforcement resources.” Barillari, 194

Wis.2d at 260 (rejecting application of known danger exception to immunity).

      This is particularly true in the present case, where law enforcement was dealing

with widespread chaos occurring over a large and uncontained geographical area. Even

if the County Defendants were aware of a generalized threat to protestors on August 25,

2020, they could not predict that Mr. Rittenhouse would kill Mr. Huber specifically such

that some particularized action was required. See id. at 260-261. As such, they retained

their discretion in determining how best to address any perceived threat.

      We look to our police departments to enforce our laws and to maintain
      order in what is becoming an increasingly dangerous society. Routinely,
      police face critical situations, many of which have the potential for
      violence. On a typical day, any given law enforcement officer may be
      arresting and questioning suspects, interviewing and counseling victims,
      talking to witnesses, rescuing children, and investigating criminal activity.
      In the course of their work, police must often try to console and reassure
      people who are distraught and fearful. Faced with escalating violence,
      they must continuously use their discretion to set priorities and decide
      how best to handle specific incidents. Police officers must be free to
      perform their responsibilities, using their experience, training, and good
      judgment, without also fearing that they or their employer could be held
      liable for damages from their allegedly negligent discretionary decisions.
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Id. at 261-262 (emphasis added).

      Plaintiff concedes that law enforcement officers responded to the critical

situation on August 25, 2020 by imposing a curfew. (Dkt. No. 1, ¶28-29.) In fact, Plaintiff

contends that law enforcement disproportionately sought to enforce that curfew against

protestors—including Mr. Huber—and demanded that they leave the scene

immediately. (Id., ¶ 61, 71.) This is not a situation where law enforcement stood by and

did nothing. See Lodl, 2002 WI 71 at ¶¶ 19, 42, 46-48. Rather, Plaintiff simply disagrees

with the discretionary decisions made by law enforcement that evening. But this is not

enough to invoke the exception to immunity. See Heuser, 2009 WI App 151 at ¶ 33

(explaining that officer will enjoy immunity even if the particular measures he enacted

were insufficient to prevent harm).

      While there are far fewer allegations pertaining to the claim for negligent hiring,

supervision, and training, this claim is also subject to discretionary immunity. Plaintiff

makes no specific claims about hiring or training at all, and therefore he has failed to

plead facts showing that any exception to discretionary immunity would apply to those

actions. As to supervision, Plaintiff only asserts that the County Defendants were

negligent in their supervision duties. (Dkt. No. 1, ¶ 185.) Plaintiff refers to these

supervisory duties as “non-discretionary” (see id.), but Wisconsin law is clear that

training and supervision are discretionary acts. See Sheridan v. City of Janesville, 164




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Wis.2d 420, 429-430, 474 N.W.2d 799 (Ct. App. 1991); Liebenstein v. Crowe, 826 F.Supp.

1174, 1187–88 (E.D.Wis.1992); Phillips, 123 F.3d at 599. Therefore, immunity applies.

       D.     Defendant Kenosha County is Entitled to Immunity From
              Intentional Torts Under Wis. Stat. § 893.80(4).

       Section 893.80(4), Wis. Stats., immunizes a governmental entity from liability for

intentional torts of its officers and employees. Envirologix Corp. v. City of Waukesha, 192

Wis. 2d 277, 288, 531 N.W.2d 357 (Ct. App. 1995). Plaintiff has alleged various

intentional torts under state law. (Dkt. No. 1, ¶ 171, 189, 195.) To the extent that Plaintiff

has asserted these claims against Kenosha County, they fail under Wis. Stat. § 893.80(4)

and must be dismissed as to Kenosha County.

       E.     Defendant Kenosha County Is Not Liable For Discretionary Acts
              of its Officers

       In Count XIV, Plaintiff has alleged that the City of Kenosha and Kenosha County

are liable under the theory of respondeat superior for the actions of their employees.

(Dkt. No. 1, ¶ 197-198.) However, where the employees are entitled to discretionary

immunity, so too is the governmental employer. See Phillips, 123 F.3d at 599; Barillari,

194 Wis.2d at 262. Because any individual County Defendants are entitled to

discretionary immunity for the claims of negligence, negligent hiring and supervision,

and negligent infliction of emotional distress, Kenosha County is also entitled to




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immunity from liability for Count IX, Count X, and Count XI. As such, Kenosha County

is entitled to immunity for all of Plaintiff’s state law claims4.

VIII. KYLE RITTENHOUSE IS A NECESSARY PARTY TO THIS ACTION

        Should the Court determine that any causes of action survive this Motion,

Plaintiff failed to join a necessary party, Kyle Rittenhouse, to this lawsuit as required by

Federal Rule of Civil Procedure 19. Dismissal under Rule 12(b)(7) for failure to join a

party under Rule 19 requires a two-step inquiry. First, a court considers whether the

absent party is a necessary party. Davis Co. v. Emerald Casino, Inc., 268 F.3d 477, 481 (7th

Cir. 2001). In determining whether the absent party is necessary under Rule 19(a), the

court considers whether 1) complete relief can be accorded without joinder of that

party; 2) the party’s ability to protect his interest will be impaired; and 3) the existing

parties will be subject to a substantial risk of multiple or inconsistent obligations unless

the party is joined. Id. If the court deems the absent party “necessary” to the litigation,

but the party cannot be joined in the action (because, for example, the party is beyond

the personal jurisdiction of the court), the court then proceeds to the second part of the

inquiry. Id.

        Here, Kyle Rittenhouse is a necessary party to the lawsuit and there is no reason

he could not have been joined in the action. His conduct is central to the allegations of



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 The only other state law claim is for statutory indemnification pursuant to Wis. Stat. § 895.46. However,
Wis. Stat. § 895.46 “does not provide a private cause of action for indemnification” against the County,
but instead “provides for the [municipality] to pay the damages[, if any,] on behalf of” the public officer
or employee. Jackson v. Graves, No. 14-cv-1206-pp, 2015 WL 5577527, at *4 (E.D. Wis. Sep. 22, 2015).
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the Complaint and he is alleged to have killed Mr. Huber. He is currently being

criminally prosecuted for that killing. (See Kenosha County Circuit Court case no. 20-

CF-983.) Mr. Rittenhouse’s conduct is implicated in each claim, but it is particularly

relevant to the allegations of a conspiracy because he is alleged to have conspired with

Defendants to deprive Mr. Huber of his constitutional rights.

         The allegations in the Complaint clearly render Mr. Rittenhouse a necessary

party to this lawsuit. His absence from this action would be extremely prejudicial to

County Defendants because it would create unnecessary difficulties in accessing

relevant discovery, both testimony and documents. In turn, this would increase defense

costs and would unduly frustrate the preparation of a defense, especially if Mr.

Rittenhouse refuses to comply with third-party subpoenas due to the ongoing criminal

proceedings. The conduct of Mr. Rittenhouse also needs to be included in any verdict

formulation, particularly because liability for any claim of conspiracy under 42 U.S.C. §

1983 is joint and several. See McKinnon v. City of Berwyn, 750 F.2d 1383, 1387 (7th Cir.

1984). Even awards of attorney’s fees and costs under 42 U.S.C. § 1988 can be subject to

joint and several liability. See Shakman v. Democratic Org. of Cook County, 634 F.Supp. 895,

904 (N.D.Ill.1986); U.S. ex rel. Howard v. Urban Inv. Trust, Inc., 2014 WL862749 (N.D. Ill.

2014).

         Indeed, judgement against the County Defendants in the absence of Mr.

Rittenhouse would result in a miscarriage of justice, as the culpability of conduct lies

with him even based on a plain reading of the Complaint. Therefore, the Court must
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either dismiss the lawsuit without prejudice to allow Plaintiff to refile with Mr.

Rittenhouse as a named defendant, or it can require Mr. Rittenhouse to be joined to this

lawsuit.

                                     CONCLUSION

      For the reasons stated herein, the County Defendants respectfully request that

the Court enter an Order dismissing Plaintiff’s claims against them in their entirety.


      Dated this 22nd day of October, 2021.


                                         By: /s        Sara C. Mills
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